         Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 1 of 30




                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                 §
In re:                           § Chapter 11
                                 §
NEIGHBORS LEGACY HOLDINGS, INC., § Case No. 18-18-33836 (MI)
et al.,                          §
                                 § (Jointly Administered Pending)
         Debtors.1               §

         DECLARATION OF CHAD J. SHANDLER IN SUPPORT OF CHAPTER 11
                   PETITIONS AND FIRST DAY PLEADINGS

         I, Chad J. Shandler, being duly sworn, depose and say:

         1.       I am the Chief Restructuring Officer of Neighbors Legacy Holdings, Inc.

(“NLH”) and certain of its affiliates, the debtors and debtors in possession in the above-

captioned cases (collectively, the “Debtors”). I am over the age of 18, competent to testify, and

authorized to submit this declaration (the “Declaration”) on behalf of the Debtors.

         2.       I have served as the Chief Restructuring Officer of the Debtors since August 28,

2017. Since then, I have become generally familiar with the Debtors’ day-to-day operations,

businesses, and financial affairs.

         3.       I am also a partner with CohnReznick LLP (“CohnReznick”), a national advisory

firm that specializes in corporate restructurings, operations improvement, litigation analytics,

valuations, and bankruptcy case management services.                     I specialize in providing corporate

restructuring and financial advisory services to financially troubled companies, trustees, secured

creditors, and creditor groups. My expertise includes developing and evaluating restructuring


1
  Due to the large number of Debtors in these chapter 11 cases, a complete list of the Debtors and the last four digits
of their tax identification numbers is not provided herein. A complete list of such information may be obtained on
the website of the Debtors’ proposed claims and noticing agent at www.kccllc.net/neighbors. The location of
Debtors’ principal place of business and the Debtors’ service address is: 10800 Richmond Avenue. Houston, Texas
77042.




6318135v20
         Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 2 of 30




alternatives, valuing business enterprises, and negotiating with stakeholders. I also perform

forensic services, including analyzing fraudulent and preferential transfers and solvency issues. I

have been qualified as an expert witness in bankruptcy court and I have been appointed a Special

Fiscal Agent in the Superior Court of New Jersey. I have served as the chief restructuring officer

of several entities. I have also served as a liquidating trustee. My industry expertise includes

senior living and healthcare, telecommunications, retail, manufacturing, publishing, multifamily

housing and real estate, distribution, and sports and entertainment. In the past five years the

majority of my experience has been in the healthcare industry.

         4.       Except as otherwise noted, all facts set forth in this Declaration are based on my

personal knowledge, my discussions with members of the Debtors’ senior management, my

review of relevant documents or, based on my experience and knowledge of the Debtors’

operations and financial conditions, and my opinion. In making this Declaration, I have relied,

in part, on information and materials that the Debtors’ personnel and advisors have gathered,

prepared, verified, and provided to me in each case under my ultimate supervision, at my

direction and/or for my benefit in preparing this Declaration. If I were called to testify as a

witness in this matter, I would testify competently to the facts set forth herein.

         5.       To minimize any disruption to the Debtors’ operations and to ensure a smooth

transition into chapter 11, the Debtors intend to request various types of relief in “first day”

applications and motions (collectively, the “First Day Pleadings”) in connection with these

chapter 11 cases (the “Chapter 11 Cases”).2 I submit this declaration in support of the Debtors’

(a) voluntary petitions for relief under chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”) and (b) the First Day Pleadings.


2
  Unless otherwise defined herein, capitalized terms used herein shall have the meanings ascribed to them in the
relevant First Day Pleadings.


                                                         2
6318135v20
        Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 3 of 30




       6.      This Declaration is divided into two parts.          Part I provides background

information about the Debtors, their business operations, their corporate and capital structures,

and the circumstances surrounding the commencement of the Chapter 11 Cases. Part II sets forth

the relevant facts in support of each of the First Day Pleadings.

                                   PART I – BACKGROUND

   A. Preliminary Statement

       7.      The Debtors operate freestanding emergency centers (the “Emergency Centers”)

throughout the State of Texas, including in the greater Houston area, South Texas, El Paso, the

Golden Triangle, the Panhandle, and the Permian Basin. The Emergency Centers are designed to

offer an attractive alternative to traditional hospital emergency rooms by reducing wait times,

providing better working conditions for physicians and staff, and giving patient care the highest

possible priority.

       8.      The Debtors were founded in Houston in 2008 by nine emergency room

physicians. The Debtors were initially successful and experienced rapid growth. At their peak,

in 2017, the Debtors operated 33 Emergency Centers in three different states.

       9.      As discussed below, the Debtors funded their expansion by incurring over $110

million in secured bank debt. In 2016, the Debtors also explored the possibility of a substantial

capital raise or other transaction to fund further growth. Ultimately, the Debtors did not close

such a transaction.

       10.     In late 2016, the Debtors’ business began experiencing financial difficulties

caused, in large part, by two fundamental challenges: (1) increased competition in the

freestanding emergency department space, and (2) less favorable insurance payor conditions.

Further, the Debtors’ aggressive expansion plans resulted in the opening or planned opening of




                                                 3
6318135v20
        Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 4 of 30




Emergency Centers, some in what was ultimately determined to be less favorable locations.

Each Emergency Center required significant capital for build out, was subject to a long-term real

property lease, and an anticipated 12- to 18-month timeframe for the Emergency Center to

achieve cash flow positive results. These challenges have resulted in declining revenues and

disproportionate overhead costs compared to the number of the Debtors’ Emergency Centers

and, as the business began to contract, the Debtors began closing Emergency Centers.

       11.     These challenges have forced the Debtors to close unprofitable Emergency

Centers (and abandon several planned – but never opened – centers), lay off employees, and

downsize corporate overhead. The challenges have also caused significant strain on the Debtors’

relationships with some of their landlords, vendors, and doctors, upon whom the Debtors rely to

operate their business. Prepetition, the Debtors engaged professionals and explored various out-

of-court solutions to their financial difficulties. While the Debtors were able to improve their

revenue cycle systems and procedures and further reduce costs, the Debtors cannot continue to

service their secured debt and satisfy the burden of their closed or never-opened Emergency

Centers. Accordingly, the Debtors undertook a robust marketing process and have filed these

Chapter 11 Cases to pursue a sale of their assets.

   B. The Debtors’ Business

       12.     The Debtors opened their first Emergency Center in Bellaire, Texas in 2009. At

that time, the state of Texas did not license freestanding emergency centers and Debtors were

required to partner with hospitals to obtain licensure. In June 2010, the Texas legislature enacted

Title 25, Chapter 131 of the Texas Administrative Code, which authorized, for the first time,

independent licensure for freestanding emergency rooms. Thereafter, the Debtors were able to

open additional freestanding emergency rooms without the requirement to partner with hospitals.




                                                 4
6318135v20
           Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 5 of 30




           13.     From 2011 to 2013, the Debtors gradually expanded by adding four new facilities

in the Houston metropolitan area. In 2014, the Debtors added two additional Houston locations

and expanded into Austin, opening two Austin Emergency Centers. In 2015 and 2016, the

Debtors expanded into new Texas markets as well as markets outside of Texas, including

Arizona, Colorado, and Rhode Island. The Debtors financed their expansion in large part

through a $150 million credit facility obtained in November 2015, as discussed in more detail

below.

           14.     The Debtors currently operate 22 free-standing Emergency Centers throughout

Texas and provide support for the Emergency Centers at a corporate headquarters located in the

Westchase area of Houston. Together with their non-debtor subsidiaries and affiliates, the

Debtors’ corporate network (the “Neighbors Network”) consists of approximately 115 entities

organized under the laws of various states. The Debtors lease the real property for most of the

Emergency Centers as well as their corporate headquarters, and own the real property associated

with four of their centers.3 In total, Neighbors Network employs or engages as independent

contractors       approximately      900    physicians,      nurses,   radiology     technicians,    laboratory

professionals, and administrative staff on either a full- or part-time basis (collectively, the

“Employees”).          Approximately 140 of the Employees work at the Debtors’ corporate

headquarters. The corporate Employees perform various functions for the Debtors, including

billing, coding, collection of accounts receivable, finance, human resources, marketing,

information technologies (“IT”), and administrative tasks.




3
    The Debtors own the real property for their Kingwood, Baytown, Pearland, and Beaumont Centers.


                                                         5
6318135v20
       Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 6 of 30




                                    Neighbors – Pearland

       15.    The remainder—and the vast majority—of the Debtors’ Employees work at the

various Emergency Centers, which are located throughout Texas, as shown in the chart below.




                    Neighbors’ 22 Open Facilities (the “Open Facilities”)




                                              6
6318135v20
         Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 7 of 30




                                             Neighbors – Pasadena

         16.      The Debtors generate revenues by collecting payments from patients and

insurance providers in satisfaction of services rendered at the Emergency Centers. As detailed in

the Anatomy of a Claim chart below, the Debtors bill patients and insurance companies for the

services provided (the “Billed Charges”).4 Thereafter, the Debtors negotiate with the payor

(which may involve appeals) to arrive at a “Final Allowable” claim amount. That amount is then

divided between the insurance provider and the patient, based on the patient’s specific health

plan, and paid to the Debtors. On average for 2017, the total amount collected by the Debtors

was approximately 36% of the Billed Charges.

    C. The Debtors’ Corporate Structure

         17.      The Debtors’ full corporate structure, which includes non-debtor entities, is

reflected in the organizational chart attached as Exhibit A.

         18.      The Debtors’ Emergency Centers are structured as separate limited partnerships

with Neighbors GP, LLC as the general partner of each.                         The limited partners for each

Emergency Center are organized as separate series LLCs (series 100 through series 153)

(collectively, the “Series LLCs”) existing as part of NHS Emergency Centers, LLC.5 Each of the


4
  While the Debtors may accept Medicare or Medicaid patients, as required, for emergent care, the Debtors do not
bill Medicare or Medicaid.
5
  A series LLC is a form of a limited liability company in which each “series” operates as its own, unique entity so
that the series are separate from each other for liability purposes. All Series LLCs are non-Debtors.


                                                          7
6318135v20
           Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 8 of 30




series LLCs are owned by a combination of “Class A” physicians, which are the original nine

founding physicians,6 and “Class B” physicians, which are physicians that have purchased

interests in profits and losses in specific series LLCs (“Purchased Interests”). The Class B

physicians typically work shifts at the Emergency Centers where they own Purchased Interests.

In connection with purchasing their interests in one or more Emergency Centers, the Class B

physicians are entitled to a corresponding number of monthly 24-hour shifts at such centers. In

addition to being eligible to receive distributions related to their Purchased Interests, Class B

physicians receive compensation for working their respective shifts.7 As of the Petition Date,

there are approximately 125 Class B physicians.

           19.      Management and corporate functions for each of the Emergency Centers are

provided by separate Debtor entities, as follows:

                 a. EDMG, LLC – provides staffing and back office support to the Emergency
                    Centers, Neighbors Physician Group, PLLC, and Neighbors Practice
                    Management, LLC, including payroll, human resources, IT, and accounting;

                 b. Neighbors Practice Management, LLC – provides billing, coding, and revenue
                    cycle management to the Emergency Centers and Neighbors Physician Group,
                    PLLC;

                 c. Neighbors Emergency Center, LLC – holds ownership of intellectual property
                    assets;

                 d. Neighbors Health LLC – provides management services to all of the Debtors
                    pursuant to management agreements; and

                 e. Neighbors Physician Group, PLLC – provides physician staffing in the
                    Emergency Centers.

      D. The Debtors’ Capital Structure

                 i. Prepetition Credit Agreement

           20.      On November 19, 2015, Neighbors Global Holdings, LLC (“Neighbors”), as

6
    Not all nine founding physicians are participants in every series LLC.
7
    The physician contractors are paid on an hourly basis by Neighbors Physicians Group, PLLC.


                                                          8
6318135v20
         Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 9 of 30




borrower, entered into a Credit Agreement (as amended, restated, or supplemented the

“Prepetition Credit Agreement”) with the lenders from time to time party thereto (collectively,

the “Prepetition Lenders”); KeyBank National Association, as administrative agent, swing line

lender, and issuing bank (the “Prepetition Agent”); KeyBanc Capital Markets Inc., as joint lead

arranger and a joint bookrunner; Compass Bank Association, as joint lead arranger, a joint

bookrunner, and sole syndication agent; and LegacyTexas Bank, as the documentation agent

(together with the Prepetition Lenders and the Prepetition Agent the “Prepetition Secured

Parties”).

        21.      Simultaneously with the execution of the Prepetition Credit Agreement, various

subsidiary affiliates, as guarantors (the “Guarantors”) entered into a Guaranty dated November

19, 2015 (as amended, restated, or supplemented, the “Guaranty”),8 with the Prepetition Agent.

        22.      The Prepetition Credit Agreement provided the Debtors with a revolving credit

facility in an initial aggregate principal amount of up to $30 million.                    On May 9, 2017,

Neighbors, the Prepetition Lenders, and the Prepetition Agent entered into the Waiver, Consent

and Amendment No. 3, reducing availability under the revolving credit facility to $27 million.

The maturity date for the revolving cash borrowings under the Prepetition Credit Agreement is

November 19, 2020. Neighbors has never drawn on the revolving credit facility. The Prepetition

Credit Agreement also provided the Debtors with (a) a term loan facility in an aggregate

principal amount of $100 million and (b) a delayed draw term loan facility in the aggregate

principal amount of $20 million (with any borrowings incurred under the delayed draw term loan



8
  Since the November 19, 2015 date of the Guaranty, guarantors have been added through joinder agreements. As of
the Petition Date, all of the entities in the Neighbors Network, including each Emergency Center, have guaranteed
the Prepetition Credit Agreement. A full list of the Guarantors is contained in Exhibit B. (Note: The Perfection
Certificate dated November 19, 2015, includes the list of Guarantors as of the closing date. The Perfection
Certificate dated November 14, 2016, includes the list of Guarantors as of such date (several were added along the
way pursuant to joinder agreements).


                                                        9
6318135v20
        Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 10 of 30




facility automatically becoming part of the term loan facility). The maturity date for the term

loan under the Prepetition Credit Agreement is November 19, 2020. On the date that the

Prepetition Credit Agreement funded, November 19, 2015, Neighbors drew $100 million on the

term loan facility. In September 2016, Neighbors drew $20 million on the delayed draw term

loan facility.

        23.      The Debtors have, from time to time, addressed issues arising under the

Prepetition Credit Agreement with the Prepetition Lenders. Specifically, Neighbors entered into

three amendments to the Prepetition Credit Agreement:

                 (a)   July 5, 2016, Amendment No. 1 – Neighbors, the Prepetition Lenders, and
                       the Prepetition Agent entered into Amendment No. 1 to the Credit
                       Agreement, dated July 5, 2016, pursuant to which the Prepetition Lenders
                       waived certain events of default under the Prepetition Credit Agreement
                       (including, without limitation, failure to comply with certain disclosure
                       and delivery requirements), and certain Guarantors joined the Guaranty
                       and the Security Agreement (as defined in the Prepetition Credit
                       Agreement).

                 (b)   September 9, 2016, Amendment No. 2 – Neighbors, the Prepetition
                       Lenders, and the Prepetition Agent entered into a Waiver, Consent and
                       Amendment No. 2 to the Credit Agreement, dated September 9, 2016,
                       pursuant to which the Prepetition Lenders waived certain events of default
                       under the Prepetition Credit Agreement (including, without limitation,
                       failure to deliver certain financial statements).

                 (c)   May 9, 2017, Amendment No. 3 – Neighbors, the Prepetition Lenders, and
                       the Prepetition Agent entered into a Waiver, Consent and Amendment No.
                       3 to the Credit Agreement, dated May 9, 2017, pursuant to which the
                       Prepetition Lenders waived certain events of default under the Prepetition
                       Credit Agreement (including, without limitation, failure to comply with
                       the fixed charge coverage ratio), amended certain covenants and related
                       provisions to allow Neighbors to operate without being in default,
                       accommodated the conversion of Neighbors Physician Group, LLC, a
                       Texas limited liability company, from one entity type to another, and
                       required the contribution of additional capital from its equity holders in
                       the form of shareholder loans.

        24.      The obligations under the Prepetition Credit Agreement are secured by

substantially all of the Debtors’ assets. In particular, pursuant to (a) the Amended and Restated

Pledge and Security Agreement dated May 9, 2017 (the “Security Agreement”), and (b) the



                                               10
6318135v20
         Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 11 of 30




Deeds of Trust, Assignments of Leases and Rents, Security Agreement and UCC Financing

Statements for Fixture Filings, in each case dated November 19, 2015 (the “Deeds of Trust”, and

together with the Security Agreement, collectively, the “Prepetition Security Documents”), all

amounts outstanding under the Prepetition Credit Agreement are secured by a first-priority

security interest (the “Prepetition Liens”) in substantially all of the Debtors’ existing and future

assets (collectively, the “Prepetition Collateral”), other than certain excluded payroll accounts

and deposit accounts. In addition, the obligations under the Prepetition Credit Agreement are

guaranteed by the Guarantors. Accordingly, as of the Petition Date, other than any payroll

accounts or deposit accounts that may have been excluded as collateral pursuant to the Security

Agreement, the Debtors do not have any unencumbered cash or assets.

               ii. Equipment Leases

         25.      The Debtors lease their radiology equipment, including CT machines, x-ray

equipment, and ultrasound machines.         The Debtors’ primary equipment lessors are BBVA

Compass and Wells Fargo. Prepetition, the Debtors entered into an agreement with BBVA

Compass regarding return of equipment at Closed Centers and the impact on BBVA Compass’s

claims against the Debtors.

         26.      The Debtors also lease non-medical equipment, such as monitors and computer

equipment from various parties.

         27.      The Debtors intend to assume and assign certain equipment leases related to Open

Facilities, as directed by the ultimate successful purchaser of their assets. Conversely, the

Debtors intend to reject certain leases related to their Closed Centers, as described in more detail

below.




                                                 11
6318135v20
       Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 12 of 30




          iii. Outstanding Vendor Obligations

       28.      The Debtors utilize a broad range of vendors to provide medical supplies and

other items necessary to operate the Emergency Centers. On the Petition Date, the Debtors’

aggregate accounts payable to vendors is approximately $12.8 million.

             iv. Equity

       29.      NLH, which is the parent company of all the Debtors except Neighbors Physician

Group, PLLC (“NPG”), is owned by nine individual shareholders who were the founders of the

business: Paul Alleyne, Michael Chang, Andy Chen, Cyril Gilman, Henderson Quang, Darmesh

Patel, Hitesh Patel, Setul Patel, and Tom Vo. NPG is owned by the same nine shareholders.

   E. The Debtors’ Material Litigation

       30.      The Debtors are involved, as both Plaintiffs and Defendants, respectively, in

various litigation. The most significant litigation is summarized as follows:

             a. Beaumont Emergency Physicians Associates, PLLC (“BEPA”) litigation – BEPA,
                the entity formed by certain physicians who staff the Debtors’ Beaumont, Texas
                location and who own net profits interests in the Debtors’ Beaumont, Texas
                location, filed suit against Neighbors Legacy Holdings, Inc. f/k/a Neighbors
                Health System, Inc., Neighbors GP, LLC (collectively, the “Neighbors
                Defendants”), along with several individual physicians (who are also board
                members in the Neighbors Network) in the Jefferson County District Court in
                Beaumont. In December 2013, the Neighbors facility in Beaumont, Texas (“NEC
                Beaumont LLC”) exchanged its membership interests for shares of the limited
                partner of a new entity. The conversion was approved by BEPA and BEPA’s
                president signed the conversion documents. BEPA is now claiming, however,
                that NEC Beaumont LLC was not converted and filed suit against the Neighbors
                Defendants on this basis.

                BEPA alleges that if NEC Beaumont LLC was not converted, the Neighbors
                Defendants are in breach of contract or possibly made negligent or fraudulent
                misrepresentations at the time of the purported conversion. The Neighbors
                Defendants filed a counterclaim against BEPA asserting breach of contract and
                negligent and/or fraudulent misrepresentation for signing the conversion
                documents, allowing conversion paperwork to be filed with the Texas Secretary
                of state, and accepting millions of dollars in distributions from the new entity.

                BEPA filed a Motion for Partial Summary Judgment on the viability of the


                                                12
6318135v20
       Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 13 of 30




                  conversion, which the court granted in part. However, the court noted that there
                  is a fact issue as to whether BEPA ratified or otherwise consented to the
                  conversion due to BEPA’s president signing the conversion documents and the
                  new entity operating for years. The parties attended mediation on April 4 and 10,
                  2018, and continue settlement discussions. No trial date has been set.

             b.   Equipment Leases litigation – Certain of the Debtors are parties to a related series
                  of cases pending in the United States District Court for the District of New Jersey,
                  the United States District Court for the Southern District of Texas, in the Harris
                  County District Court, and in the Circuit Court for the State of Missouri. These
                  cases involve Equipment Leases for which the Debtors stopped paying certain
                  obligations based on allegations that: a) the lease schedules were improperly
                  obtained, and 2) the original vendor failed to provide certain items, including
                  software licenses and professional services. Given that the cases involve lessors
                  on Debtors’ equipment, the cases potentially affect the Debtors’ restructuring
                  efforts. These cases involve various equipment lessors and Neighbors Legacy
                  Holdings, Inc. f/k/a Neighbors Health System, Inc., Neighbors Health, LLC f/k/a
                  Neighbors Health System, LLC, Neighbors Global Holdings, LLC, Neighbors
                  GP, LLC, and various individual Emergency Centers. Neighbors Network
                  entities are defendants, plaintiffs, and counter-plaintiffs. No trial dates have been
                  set.

             c. Rhode Island Litigation – Several physicians filed lawsuits against Neighbors
                Health LLC, NEC West Warwick Emergency Centers, LP, NHS Emergency
                Centers, LLC, Neighbors GP, LLC, Neighbors Physicians Group-Rhode Island,
                LLC, and Neighbors Physicians Group, LLC alleging breach of contract and
                promissory estoppel based on lease agreements between the physicians and the
                Neighbors defendants. A special master was appointed and the Court entered an
                order permitting the landlord to re-let the property and ordering the special master
                to take no further action. The cases are pending in the Superior Court of Rhode
                Island.

   F. Events Leading to the Chapter 11 Cases

             i. Increased Competition in the Industry

       31.        Beginning in 2016, the Debtors experienced increased competition in the industry

in the form of traditional hospital emergency rooms, hospital outpatient departments, other

freestanding emergency centers and urgent care facilities. Despite growth in net revenue from

opening new facilities, the Debtors have experienced significant declining earnings before

interest, tax, depreciation, and amortization (“EBITDA”) since 2015. For example, the Debtors’

consolidated EBITDA dropped from $49 million in 2015, to $45 million in 2016, to $10.3


                                                   13
6318135v20
           Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 14 of 30




million9 in 2017. This drop has been caused, in part, by the increased competition in the

industry, which has led to lower patient volumes per Emergency Center. For the Emergency

Centers opened prior to 2016, the average claims per day fell from approximately 13 in the first

quarter of 2017 to approximately 10 currently. For Emergency Centers opened during 2016,

there continues to be, on average, fewer than 10 claims per day. This marked reduction in

patient volume led to a strain at previously profitable locations and underperformance at new

locations.

                 ii. Compression of Insurance Payor Reimbursements

           32.      In addition to increased competition in the industry, the Debtors’ liquidity crisis

was caused by a challenging insurance payor environment, which significantly reduced allowed

reimbursement as well as collection rates.               The net patient service revenue collected as a

percentage of gross billings continues to decrease over time because insurance payors have

increasingly reduced or denied the Emergency Centers’ claims. This is largely the result of

insurance companies increasingly classifying the services provided as “non-emergent,” rather

than “emergent” care.

              iii. Excessive Overhead

           33.      The Debtors’ aggressive growth strategy included significant investments in their

infrastructure to support future Emergency Centers. These investments included a new corporate

headquarters in Houston, a significant marketing spend, and increased employee headcount. As

the Debtors were forced to shift away from a growth strategy, they have closed underperforming

facilities and elected not to open new facilities. As a result, the Debtors’ overhead costs have

become inconsistent with the current size of their business.                     Although the Debtors made

significant corporate overhead expense reductions in 2017, including reductions in force and

9
    Consolidated EBITDA of $10.3 million includes restructuring expenses of $3.8 million.


                                                         14
6318135v20
       Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 15 of 30




spending cuts, corporate overhead remains out of proportion to the current level of operations

primarily due to the high costs of unutilized headquarters space.

             iv. Costs Associated with Closed and Never-Opened Emergency Centers

       34.      The Debtors’ obligations still include costs related to the Closed Centers –

specifically, and significantly, the Debtors’ unexpired lease obligations. As of the Petition Date,

the Debtors had future non-cancelable obligation commitments for operating and capital leases

of approximately $90 million.

       35.      The Debtors primary real property landlord on closed and never-opened centers is

Read King. Prepetition, the Debtors (and certain principals of the Debtors) partnered with Read

King to develop new locations for Emergency Centers. In many instances, the arrangement

included Read King identifying a property; Neighbors executing a long-term lease (typically 12

years); Read King financing the purchase of the real property and the building shell; Neighbors

building out the interior, opening the site, and paying rent to Read King (the “RK Leases”).

       36.      As tenants under the RK Leases, the Emergency Centers are subject to a Master

Guaranty of Leases (the “Master Guaranty”), which provides that the tenant Emergency Centers

under the RK Leases are guarantors of all the RK Leases. Based on these cross-guarantees, as

guarantors of the RK Leases, the tenant Emergency Centers are jointly and severally liable for

default of any of the other Emergency Centers.

             v. Attempts at Out-of-Court Restructuring

       37.      In the fourth quarter of 2016, certain of the Debtors fell out of compliance with

certain covenants under the Prepetition Credit Agreement. After significant negotiations, the

Debtors and KeyBank agreed on an amendment to the Prepetition Credit Agreement. In the

summer of 2017, the enterprise experienced continued underperformance and cash strain, which




                                                 15
6318135v20
       Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 16 of 30




resulted in additional covenant defaults.

       38.     Beginning in the fourth quarter of 2016 and continuing into 2017, Debtors

implemented various expense reduction initiatives, including an aggregate reduction in senior

management salaries, eliminating certain corporate headquarters positions, reductions in

marketing expenses across all Emergency Centers, reductions in expenditures for corporate

office supplies and food, and corporate travel reductions.

       39.     As of the fourth quarter of 2017, these cost reductions generated annualized cost

savings of almost $22 million (approximately $18,000 average reduction in overhead costs per

month at each of the individual Emergency Centers). Additionally, based on the significant

headwinds facing the business, the Debtors closed 13 underperforming Emergency Centers (the

“Closed Centers”) and elected not to open 8 centers that had been in various stages of planning

and preparation for opening.




                         Neighbors Closed and Never-Opened Locations

       40.     During this process, the Debtors also engaged me as CRO and, as set forth in this

Declaration, my duties included evaluating the existing business model, recommending the



                                                16
6318135v20
       Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 17 of 30




closure of unprofitable locations, negotiating with Key Bank, negotiating with vendors and real

property lessors, negotiating with real property lessors, and assessing other areas of change

within the business

       41.      In addition to retaining me as CRO, the Debtors’ retained my firm, CohnReznick,

to lead efforts to facilitate the Debtors’ restructuring efforts, which included the following

advisory services:

             a. evaluating and assessing the Company’s operating performance and strategy;

             b. assessing projected EBITDA and net cash flow by facility and corporate entity
                service provider;

             c. evaluating a go forward strategy to continue or close facilities;

             d. assisting management with cost saving initiatives including the reduction of
                corporate personnel and streamlining the organization by realigning
                responsibilities;

             e. providing assistance and analysis in determining DIP financing size and
                requirements;

             f. assisting in the development of strategy relating to patients and vendors;

             g. providing accounting and financial advisory and support services; evaluating cash
                management controls and procedures; assisting with the management of cash
                disbursements and vendor relationships;

             h. implementing controls and procedures to conserve cash;

             i. assisting in the preparation of weekly and monthly reports;

             j. analyzing actual results in comparison to cash forecasts and financial projections;

             k. assisting the Debtors’ with the data and information gathering relating to third
                party due diligence for potential transactions with financial and strategic buyers;
                and

             l. advising and assisting the Debtors’ and other professionals retained by the
                Debtors’ in developing and executing a Chapter 11 strategy including section 363
                sales.

       42.      In addition, CohnReznick assisted the Debtors in improving their Revenue Cycle



                                                  17
6318135v20
        Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 18 of 30




Management, which included:

              a. the supervision and management of the claims processing;

              b. payment and revenue generation performed by the billing and collection
                 departments;

              c. implementation of improvements in charge capture, pricing and coding;

              d. development of accounts receivable coverage strategies;

              e. development of high priority, cash driving, work lists for account follow up staff;

              f. implementation of outsourced vendor coverage for previously uncovered accounts
                 receivable including worker’s compensation, liability and commercial underpays;

              g. development of productivity standards and measurement tools; and

              h. facilitation of the transition to a new and enhanced revenue cycle management
                 system software to improve billing accuracy and follow-up.

        43.      Since my retention, the Debtors closed 7 underperforming Emergency Centers

resulting in annual EBITDA savings of at least $3.2 million and reduced corporate overhead,

primarily headcount reductions, resulting in approximately $3.4 million in annual savings. In

addition, the decision not to open a center resulted in a savings of approximately $400,000 in

pre-opening costs and an additional $1.1 million of projected EBITDA losses due to operating

inefficiencies and the lack of market awareness sustained by new centers in its first year of

operations.10

        44.      In late 2017 and early 2018 the Debtors engaged in discussions with all categories

of stakeholders, including its secured lenders, landlords, employees, and vendors.

        45.      After carefully considering all available strategic alternatives, and in consultation

with KeyBank, the Debtors concluded that it was in the best interests of their creditors and other


10
  The decision to not open a facility takes into consideration many factors including, but not limited to, the
competitive landscape and the negative impact on operating cash flow before an emergency center achieves the
volume and profitability to contribute to system-wide performance.



                                                        18
6318135v20
       Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 19 of 30




stakeholders to market their assets for sale and prepare for a chapter 11 bankruptcy case.

             vi. Marketing of the Debtors’ Assets and Negotiation of the Stalking Horse Bid

       46.       On January 2, 2018, in conjunction with their ongoing discussions with KeyBank,

the Debtors retained Houlihan Lokey (“Houlihan”) as their investment banker. Thereafter,

Houlihan and the Debtors began a marketing process that included, among other things:

             a. Establishing a data room with relevant documents about the Debtors’
                businesses, financial status and operations;

             b. Negotiating and executing non-disclosure agreements with interested
                parties;

             c. Preparing a Confidential Information Presentation (“CIP”);

             d. Approaching strategic and financial buyers with industry and/or “special
                situations” experience;

             e. Approaching Class A and B holders that had expressed an interest in
                participating in the sale process;

             f. Marketing the Debtors as 1) an entire portfolio, 2) by individual market,
                and 3) by individual facility;

             g. Having numerous informal discussions with bidders regarding the
                Debtors’ business and bidder due diligence;

             h. Holding management presentations with 3 parties;

             i. Conducting site visits with 3 parties;

             j. Analyzing bids, negotiating asset purchase agreements and selecting the
                Stalking Horse Bidder (defined below);

       47.       Houlihan initially contacted 127 parties. Sixty-one parties signed non-disclosure

agreements and were granted access to the data room.          Thereafter, Debtors and Houlihan

solicited indications of interest (“IOI”) with a deadline of February 16, 2018. Eighteen parties

submitted IOI, ranging from interest in a whole-system bid to bids on specific Emergency

Centers. Houlihan spent a substantial amount of time providing feedback and guidance to parties

that submitted IOI. The Debtors’ and Houlihan further provided supplemental due diligence and


                                                 19
6318135v20
        Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 20 of 30




had numerous telephone conferences, in person meetings, 3 management presentations, and 3

site visits at the Debtors’ headquarters in Houston or at various Emergency Centers.

        48.      The Debtors’ counsel, with input from Houlihan, prepared a form of asset

purchase agreement to serve as the baseline agreement for all bidders. Stalking horse candidates

were required to provide an asset purchase agreement marked against the Debtors’ version by

April 9, 2018. The Debtors received five formal bids. Two bids were whole-system bids for

substantially all of the Debtors’ assets. Two bids were for some or all of the Debtors’ Houston

locations. One bid was for the Debtors’ Midland and Odessa locations.

        49.     After evaluating all of the bids and consulting with their advisors and with

KeyBank, the Debtors selected Altus Health Systems OPCO, LLC and Altus Health System

Realty, LLC as the stalking horse bidder for Houston assets. As further described in the Bid

Procedures Motion, the Debtors intend to conduct an auction to maximize the ultimate purchase

price for their assets.

                             PART II. FIRST DAY PLEADINGS

        50.     I have reviewed each of the First Day Pleadings and proposed orders (including

any attached exhibits) and the facts set forth therein are true and correct to the best of my

knowledge, information, and belief. I believe the relief sought in each of the First Day Pleadings

(a) is vital to enable the Debtors to make the transition to, and operate in, chapter 11 with

minimum disruption to their business and minimum loss of productivity or value and (b)

constitutes a critical element in maximizing value during the Chapter 11 Cases.

    A. Administrative and Procedural First Day Pleadings

        51.     Joint Administration Motion. I believe that joint administration of these cases

will avoid the unnecessary time and expense of duplicative motions, applications, orders and




                                               20
6318135v20
       Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 21 of 30




other pleadings, and related notices, that otherwise would need to be filed in each separate case

absent joint administration. I believe that joint administration will save considerable time and

expense for the Debtors, the Clerk of the Court, the U.S. Trustee and other parties in interest,

which will, in turn, result in substantial savings for the Debtors’ estates. I do not believe that the

rights of the Debtors’ creditors will be adversely affected by joint administration of the Chapter

11.

       52.       Application to Appoint Claims and Noticing Agent. KCC’s retention is the

most effective and efficient manner of noticing these creditors and parties in interest of the filing

of the Chapter 11 Cases and of other developments in the Chapter 11 Cases. I am informed that

KCC has acted as the claims and noticing agent in numerous cases of comparable size.

       53.       KCC’s retention to act as an agent of the Court, as an independent third party with

significant experience in this role, is in the best interests of the Debtors as well as their estates

and creditors.

       54.       Motion to Extend Time to File Schedules and Consolidate Creditors. Due to

the (i) the substantial size and scope of the Debtors’ businesses, (ii) the complexity of their

financial affairs, (iii) the limited staffing available to perform the required internal review of

their accounts and affairs, and (iv) the Debtors’ focus of their attention on initial bankruptcy

filing matters, the Debtors will not be able to assemble all of the information necessary to

complete and file the schedules and statements of financial affairs by the applicable deadline.

       55.       The Debtors, while separate legal entities, have a large number of common

creditors and a centralized cash management system. Filing separate Top 20 Lists and separate

creditor matrices in their respective cases would generate a variety of lists with a large number of

duplicate entries. Consolidating the list of creditors to one list between the Debtors of the 50




                                                 21
6318135v20
       Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 22 of 30




largest unsecured creditors is in the best interest of the Debtors, its estate, and its creditors to

avoid unnecessary duplication and to ensure administrative inefficiency.

   B. Operational First Day Pleadings

       56.     Motion to Provide Adequate Assurance for Utilities. In order to operate their

businesses, the Debtors rely on various utility services.      Uninterrupted Utility Services are

essential to the Debtors’ continued operations. Should any Utility Company alter, refuse, or

discontinue service, even for a brief period, the Debtors’ business operations could be severely

disrupted, jeopardizing the Debtors’ reorganization efforts. It is therefore essential that the

Utility Services continue uninterrupted.

       57.     On average, prior to the Petition Date, the Debtors spent approximately $250,000

each month on account of Utility Services. I believe that the Debtors monthly utility costs going

forward will be substantially similar for the initial stages of the Chapter 11 Cases, but may be

reduced as part of the Debtors’ cost-saving measures. The Debtors have proposed to deposit

$125,000 into the Utility Deposit Account, which is equal to approximately one half (1/2) of one

month of Utility Services for all of the Utility Companies that do not already have deposits in

place (the “Utility Deposit”).

       58.     Motion to Use Cash Collateral and Obtain DIP Financing.                 Prior to the

Petition Date, the Debtors and the Prepetition Agent (and their respective advisors) engaged in

arms’-length negotiations regarding the terms and conditions of potential DIP Financing, as well

as a consensual cash collateral order. The Debtors also conducted a search to identify potential

alternative lenders to provide DIP Financing to the Debtors. The Debtors received at least two

DIP loan offers and, after this search, the Debtors concluded that no other party could provide

alternative financing on as or more favorable terms than those provided by KeyBank (the “DIP




                                                22
6318135v20
       Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 23 of 30




Lenders Agent”) and the other lenders party to the DIP Credit Agreement (the “DIP Lenders”).

        59.     The Debtors have sufficient cash to fund operations without immediate access to

the DIP Financing, however, the Debtors and their estates will suffer immediate and irreparable

harm if the interim relief requested herein, including use of cash collateral, is not granted

promptly. Further, the Debtors anticipate that the commencement of these Chapter 11 Cases will

immediately increase the demands on its free cash as a result of, among other things, the costs of

administering the Chapter 11 Cases, addressing key constituents’ concerns regarding the

Debtors’ financial health and ability to continue operations in light of the cases and making the

payments authorized by other orders entered granting the Debtors’ first day motions.

        60.     The Budget attached to the motion includes only expenditures that are necessary

to operate the Debtors’ businesses, continue the sale process for their assets and avoid irreparable

harm. As reflected in the Budget, the Debtors project over $2.5 in negative cash flow over the

next 4 weeks. The prepetition secured parties are already undersecured. The Debtors have no

viable alternative to using cash collateral under the agreement set forth in the Interim Order.

        61.     Accordingly, the Debtors have an immediate need for cash collateral on an

interim basis to, among other things, continue the operation of their business, meet payroll, pay

capital expenditures, procure goods and services from vendors and suppliers and otherwise

satisfy their working capital and operational needs, all of which is required to preserve and

maintain enterprise value for the benefit of all parties in interest.

        62.     Patient Confidentiality Motion. The Debtors are requesting that they not be

required to file a mailing matrix of patient names and addresses in order to protect confidential

patient information. Instead, the Debtors request that the claims agent be allowed to maintain a

Patient Matrix and a separate set of Patient Schedules with patient information that shall not be




                                                  23
6318135v20
       Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 24 of 30




filed or shared with any other party (except to this Court and the United States Trustee, upon

request). The Debtors request that they be allowed to file a redacted version of the Patient

Schedules in order to protect confidential information and to comply with applicable laws,

including the HIPAA.

       63.     Motion to Continue Cash Management System. The Debtors have filed a

motion to continue their ordinary course banking practices.      I understand that the Debtors

maintain a cash management system, comprised of 89 (eighty-nine) bank accounts, which

include the Debtors’ Facility Income Accounts, Facility Expense Accounts, Corporate Accounts,

the Payroll Account, the NPM Account, and the NPG Account (the “Bank Accounts”).

Continued use of these Bank Accounts facilitates the efficient flow and management of funds

involved in the Debtors’ operations (the “Cash Management System”). The Debtors utilize the

cash management system on a daily basis to support virtually all aspects of their operations.

Without access to their existing cash management system and accounts, the Debtors will not be

able to operate.

       64.     In the ordinary course of business, the Debtors may use a number of checks,

business letterhead, purchase orders, invoices, envelopes, promotional materials, and other

business forms and correspondence (collectively, the “Business Forms”).          Given that the

Business Forms were used prepetition, they do not include references to the Debtors’ current

status as debtors in possession. Most parties doing business with the Debtors undoubtedly will

be aware of the Debtors’ status as debtors in possession as a result of the publicity surrounding

the Chapter 11 Cases and the notice of commencement of the Chapter 11 Cases that has been or

will soon be provided to parties in interest. As is the case with the existing Cash Management

System, requiring the Debtors to change existing Business Forms would unnecessarily distract




                                               24
6318135v20
       Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 25 of 30




the Debtors from their restructuring efforts and impose needless expenses on the estates, without

any meaningful corresponding benefit.

       65.     The Debtors further seek authority to continue the Intercompany Transactions

postpetition. Because the Debtors engaged in the Intercompany Transactions on a regular basis

prepetition and such transactions are common for enterprises like the Debtors, the Debtors

believe that they may continue the Intercompany Transactions in the ordinary course, as

contemplated by section 363(c)(1) of the Bankruptcy Code, without court approval. Nonetheless,

out of an abundance of caution, the Debtors seek express authority to continue engaging in the

Intercompany Transactions.

       66.     Failure to continue the Intercompany Transactions in the ordinary course of the

Debtors’ business would unnecessarily and severely hinder operations. Absent the continuation

of the Intercompany Transactions, the Debtors’ ability to operate their business during the

Chapter 11 Cases would be severely prejudiced, and their ability to maximize value for creditors

would be drastically reduced. Avoiding such potentially crippling hindrances by continuing the

Intercompany Transactions is, therefore, in the best interests of the estates. The Debtors therefore

request that the Court authorize them to continue the Intercompany Transactions in the ordinary

course of business

       67.     Motion to Pay Prepetition Employee Wages.              The Debtors’ Workforce is

comprised of three primary groups, as defined below: (i) Employees, including part-time and

full-time employees, (ii) the Physicians, and (iii) the Pharmacists, and the Debtors are

supplement their workforce with temporary staff and contract third-party collectors.           The

Workforce’s skills, knowledge, and understanding of the Debtors’ operations and infrastructure

are essential to preserving operational stability and efficiency. In many instances, the Workforce




                                                25
6318135v20
Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 26 of 30
     Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 27 of 30




                                 EXHIBIT A

                         Corporate Organizational Chart




                                      27
6318135v20
                                                        Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 28 of 30
                                                              NEIGHBORS LEGACY HOLDINGS, INC

                                                              NEIGHBORS GLOBAL HOLDINGS, LLC

                                                                        NEIGHBORS HEALTH, LLC


                        Neighbors                                        Neighbors         Neighbors             Neighbors                               NHS Emergency
                                                  Next Door
  EDMG, LLC             Concierge                                        Telehealth        Practice              Emergency       Neighbors GP, LLC       Centers, LLC
                                                  Urgent Care, LLC
                        Services, LLC                                    Services, LLC     Management, LLC       Center, LLC                             (Series LLC)


                                                                                                                                           1%                     99%


                                                                                                                               NEC Bellaire Emergency Center, LP               Series   100 – Bellaire
                                                                                            NEC Kingwood Asset Holdings, LLC   NEC Kingwood Emergency Center, LP               Series   101 – Kingwood
                                                                                            NEC Baytown Asset Holdings, LLC    NEC Baytown Emergency Center, LP                Series   102 – Baytown
                                                                                                                               NEC Pasadena Emergency Center, LP               Series   103 – Pasadena
                                                                                            NEC Pearland Asset Holdings, LLC   NEC Pearland Emergency Center, LP               Series   104 – Pearland
                                                                                                                               NEC Mueller Emergency Center, LP                Series   105 – Mueller
                                                                                            NEC Beaumont Asset Holdings, LLC   NEC Beaumont Emergency Center, LP               Series   106 – Beaumont
                                                                                                                               NEC Lakeline Emergency Center, LP               Series   107 – Lakeline
                                                                                                                               NEC Yorktown Emergency Center, LP               Series   108 – Yorktown
                                                                                                                               NEC Harlingen Emergency Center, LP              Series   109 – Harlingen
                                                                                                                               NEC Crosby Emergency Center, LP                 Series   110 – Crosby
                                                                                                                               NEC Orange Emergency Center, LP                 Series   111 – Orange
                                                                                                                               NEC Midland Emergency Center, LP                Series   112 – Midland
                                                                                                                               NEC Odessa Emergency Center, LP                 Series   113 – Odessa
                                                                                                                               NEC Eastside Emergency Center, LP               Series   114 - Eastside
                                                                                                                               NEC Zaragoza Emergency Center,LP                Series   115 – Zaragoza
                                                                                                                               NEC College Station Emergency Center, LP        Series   116 – College Station
                                                                                                                               NEC Texas City Emergency Center, LP             Series   117 – Texas City
                                                                                                                               NEC Port Arthur Emergency Center, LP            Series   118 – Port Arthur
                                                                                                                               NEC Tyler Emergency Center, LP                  Series   119 – Tyler
                                                                                                                               NEC Texarkana Emergency Center, LP              Series   120 - Texarkana
                                                                                                                               NEC Amarillo Emergency Center, LP               Series   121 – Amarillo
                                                                                                                               NEC Brownsville Emergency Center, LP            Series   122 – Brownsville
                                                                                                                               NEC McAllen Emergency Center, LP                Series   123 – McAllen
                                                                                                                               NEC Porter Emergency Center, LP                 Series   124 – Porter
                                                                                                                               NEC Longview Emergency Center, LP               Series   125 – Longview
                                                                                                                               NEC Pharr Emergency Center, LP                  Series   126 – Pharr
                                                                                                                               NEC San Angelo Emergency Center, LP             Series   127 – San Angelo
                                                                                                                               NEC Wichita Falls Emergency Center, LP          Series   128 – Wichita Falls
                                                                                                                               NEC Pueblo Emergency Center, LP                 Series   129 – Pueblo
                                                                                            Neighbors Physician Group –        NEC Aurora Emergency Center, LP                 Series   130 – Aurora
                                                                                            Colorado, LLC                      NEC Greeley Emergency Center, LP                Series   131 – Greeley
                                                                                                                               NEC West Warwick Emergency Center, LP           Series   132 – West Warwick
                                                                                                                               NEC Lubbock Emergency Center, LP                Series   133 – Lubbock
                                                                                                                               NEC Bristol Emergency Center, LP                Series   134 – Bristol
                                                                                                                               NEC Seguin Emergency Center, LP                 Series   135 – Seguin
                                                                                                                               NEC Lafayette Emergency Center, LP              Series   136 – Lafayette
                                                                                                                               NEC Weatherford Emergency Center, LP            Series   137 – Weatherford
                                                                                                                               NEC Lake Jackson Emergency Center, LP           Series   138 – Lake Jackson
Alleyne       Chang        Chen         Gillman       Henderson        Patel      Patel    Patel        Vo                     NEC Lufkin Emergency Center, LP                 Series   139 – Lufkin
 Paul         Michael      Andy          Cyril         Quang         Dharmesh     Hitesh   Setul       Tom                     NEC Paris Emergency Center, LP                  Series   140 – Paris
                                                                                                                               NEC Kerrville Emergency Center, LP              Series   141 – Kerville
                                                                                                                               NEC Amarillo South Emergency Center, LP         Series   142 – Amarillo South
                                                                                                                               NEC Grand Prairie Emergency Center, LP          Series   143 – Grand Prairie
                                                                                                                               NEC Victoria Emergency Center, LP               Series   144 – Victoria
                             Neighbors Physician Group, PLLC                                                                   NEC Abilene Emergency Center, LP                Series   145 – Abilene
                                                                                                                               NEC Greenville Emergency Center, LP             Series   146 – Greenville
                                                                                                                               NEC Phoenix Emergency Center, LP                Series   147 – Phoenix
                                                                                                                               NEC Hartford Emergency Center, LP               Series   148 – Harford
                  Neighbors Physician Group - Rhode Island, LLC                                                                NEC Santa Fe Emergency Center, LP               Series   149 – Santa Fe
                                                                                                                               NEC El Paso Upper Valley Emergency Center, LP   Series   150 – El Paso Upper Valley
                                                                                                                               NEC Santa Ana Emergency Center, LP              Series   151 – Santa Anna
                                                                                                                               Arizona Emergency Center 01, LP                 Series   152 – Arizona 01
                                                                                                                               NEC Waco Emergency Center, LP
     Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 29 of 30




                                EXHIBIT B

                              List of Guarantors




                                     28
6318135v20
                  Case 18-33836 Document 16 Filed in TXSB on 07/12/18 Page 30 of 30



                            Guarantors of Prepetition Credit Agreement

     No.     Facility #                        Legal Name                 Guarantor
1           4001          NEC Bellaire Emergency Center, LP                   X
2           4002          NEC Kingwood Emergency Center, LP                   X
3           4003          NEC Baytown Emergency Center, LP                    X
4           4004          NEC Pasadena Emergency Center, LP                   X
5           4005          NEC Pearland Emergency Center, LP                   X
6           4006          NEC Lakeline Emergency Center, LP                   X
7           4007          NEC Beaumont Emergency Center, LP                   X
8           4008          NEC Mueller Emergency Center, LP                    X
9           4009          NEC Yorktown Emergency Center, LP                   X
10          4010          NEC Crosby Emergency Center, LP                     X
11          4011          NEC Orange Emergency Center, LP                     X
12          4012          NEC Zaragoza Emergency Center, LP                   X
13          4013          NEC Midland Emergency Center, LP                    X
14          4014          NEC Tyler Emergency Center, LP                      X
15          4015          NEC Eastside Emergency Center, LP                   X
16          4016          NEC Port Arthur Emergency Center, LP                X
17          4017          NEC Texas City Emergency Center, LP                 X
18          4018          NEC Odessa Emergency Center, LP                     X
19          4019          NEC Harlingen Emergency Center, LP                  X
20          4020          NEC Amarillo Emergency Center, LP                   X
21          4021          NEC Porter Emergency Center, LP                     X
22          4022          NEC Brownsville Emergency Center, LP                X
23          4023          NEC McAllen Emergency Center, LP                    X
24          4024          NEC Wichita Falls Emergency Center, LP              X
25          4025          NEC Longview Emergency Center, LP                   X
26          4026          NEC Texarkana Emergency Center, LP                  X
27          4027          NEC San Angelo Emergency Center, LP                 X
28          4028          NEC College Station Emergency Center, LP            X
29          4029          NEC Lufkin Emergency Center, LP                     X
30          4030          NEC West Warwick Emergency Center, LP               X
31          4031          NEC Lubbock Emergency Center, LP                    X
32          4032          NEC Greeley Emergency Center, LP                    X
33          4033          Next Door Urgent Care, LLC                          X
34          4034          NEC Aurora Emergency Center, LP                     X
35          4035          NEC Paris Emergency Center, LP                      X
36          4036          NEC Kerrville Emergency Center, LP                  X
37          4037          NEC Victoria Emergency Center, LP                   X
38          4038          NEC Amarillo South Emergency Center, LP             X
39          4039          NEC Lake Jackson Emergency Center, LP               X
40          4040          NEC El Paso Upper Valley Emergency Center, LP       X
41          4041          NEC Grand Prairie Emergency Center, LP              X
42          4042          NEC Pueblo Emergency Center, LP                     X
43          4044          Arizona Emergency Center 01, LP                     X
44          4046          NEC Lafayette Emergency Center, LP                  X
45          6000          EDMG, LLC                                           X
46          6000          Neighbors Emergency Center, LLC                     X
47          6000          Neighbors Global Holdings, LLC                      X
48          6000          Neighbors GP, LLC                                   X
49          6000          Neighbors Health, LLC                               X
50          6000          Neighbors Physician Group, PLLC                     X
51          6001          Neighbors Practice Management, LLC                  X
52          6007          Neighbors Physician Group – Colorado, LLC           X
53          8000          NEC Pharr Emergency Center, LP                      X
54          8001          NEC Phoenix Emergency Center, LP                    X
55          8002          NEC Abilene Emergency Center, LP                    X
56          8003          NEC Bristol Emergency Center, LP                    X
57          8006          NEC Hartford Emergency Center, LP                   X
58          8008          NEC Santa Fe Emergency Center, LP                   X
59          8009          NEC Seguin Emergency Center, LP                     X
60          8010          NEC Waco Emergency Center, LP                       X
61          8013          NHS Emergency Centers, LLC                          X
62          8016          Neighbors Concierge Services, LLC                   X
63          8017          Neighbors Telehealth Services, LLC                  X
64          9002          NEC Kingwood Asset Holdings LLC                     X
65          9003          NEC Baytown Asset Holdings, LLC                     X
66          9005          NEC Pearland Asset Holdings, LLC                    X
67          9007          NEC Beaumont Asset Holdings, LLC                    X




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